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HLED BY P_v w Dfl

IN THE UNITED STATES DISTRICT COURT ‘
FOR THE WESTERN DISTRICT OF TENNESSEE Bq mg __3 PH {2= 02

 

 

WESTERN DIVISION
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CONNIE VANOVER, W_D, OF 1?‘.§, P`ACN'PH}S
Plaintiff,
§
VS' NO. 03-263_6-1\/13/\/
AMERICAN AIRLINES, INC.,
Defendants.
ORDER OF DISMISSAL

 

The parties have submitted a Stipulation of Dismissal in this matter indicating that this
matter may be dismissed.
IT IS THEREFORE ORDERED that this case is DISMISSED Without prejudice, each

party to bear its own costs, including attorney’s fees.

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Entered this day of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

